3788 Documen

sep. ERAT, 30M

SVL, 4 LAUD, wd

Sex: Mala

Michael Shawn Billups

#82088

Sick Calls
Triage

+ 08-24-2017 : Telephone / Verbal Order Form (M...
» 0815-2017 : Telephone /Varbal Order Form (Mua
« O7-0952017 ; Gat Comptaints/Pain (Updated Mar...

Medical

Bogin New Sick Cull »
Dental

+ No recent records

Mental Health

» 07-14-2017 : Anita Petitta, PAG
* XX-XXXXXXX ; Anita Paliifa, PA-C

https://wy pememr.com/Modules/Chart/sick

ichacl Shawn :: Sick Calls | v5.0.0

t16-2 Filed 09/21/17 gel "| 68

Page . top 2

Page 1 gr Lrg

Agency: County
Location: Fi
JMS 1D: autt61942

Alergles:

a 44) PGN- no fylenal

Begin New Medical Sick Call »

Viewing 1-4 of 4 History Items

|| Search || Clear

08-02-2017 10:19 with Alfred Baldera (Task
Priority: 1} [Last Updated: 08-02-2017 10:23]

(No Related Actions) Subjectlvo: DSC: reassess
Inmate Left ear and possible
fumor on baok family called
States never received any
cipredex #f ears improved wo
1x, Lipama becoming more
uncomfostable
Objective: Large llpomea as
previously deseribad dorsum
on eft, Ears bilaterally normal
al this tine.
Assagsment: ilporna back
QE cleared
Plan: continue in procass of
oblalning surgical
avalramoval of jipoma.
Researoh reason for
merlioatlon dalay.
Education: [M appralsed: af
plan
Entered by: Alfred Baldera al staff request

Ii Add Addendum

Recategorize to [Medical v|
é 07-10-2017 10:01 with Alfred Baldera (Task
Priority: 1) [Last Updated: 07-16-2017 10:06}

Locked: Yes
interprotor
used: No

Medications Ordered Sublective: DSC. tnmate has | Locked: Yes
possible lipama or oyet on left | interpreter
* Clprodex Offic (7.5M 1 | upper back area Also c/o left | used: No
Suap (OT-Left] Into Left = | ear pain
Ear BID (07/10 - Objeotive: 4 om by 4 cm
07/24/17) ipoma of thoracie area
posteriorly. Moderate otitis
externa of left ear
Unloaded” Seanned / Asgessment: lipoma OF
plonde Plan: Requested Removal
+ Siok Calls documant. | Wil start procéss of surgical
(183 KB) paluation. Cipradex bid to
Education: IM appraised of
plan
Entarad by: Alfred Baldera at staff request
Bl Add Addendum
Resategorlza to| Medical _ v}
calls.php?cal=1 9/6/2017

